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                              IN THE UNITED STATES DISTRICT COURT
                               FOR THE WESTERN DISTRICT OF TEXAS
                                         AUSTIN DIVISION

CHARLES TOWNSLEY, MICHAEL                    §
SAURO, WALTER NOFFSINGER,                    §
ROSA DAVIDSON, MICHAEL                       §
KELLY, TITON HOQUE, JANET                    §
GELPHMAN, THANH DO                           §
                                             §
         Plaintiffs,                         §
                                             §
vs.                                          §      Civil Action No.: 1:20-cv-00969-LY
                                             §
INTERNATIONAL BUSINESS                       §
MACHINES CORPORATION,                        §
                                             §
         Defendant.                          §

              PLAINTIFFS’ ADVISORY TO THE COURT REGARDING
      PLAINTIFFS’ RESPONSE TO IBM’S MOTION FOR PROTECTIVE ORDER TO
                     LIMIT SCOPE OF 30(B)(6) DEPOSITION

TO THE HONORABLE JUDGE OF SAID COURT:

1.       Counsel for Plaintiffs, Charles Townsley, Michael Sauro, Walter Noffsinger, Rosa

Davidson, Michael Kelly, Titon Hoque, Janet Gelphman and Thanh Do respectfully bring to this

Court’s attention three incorrect citations in footnotes 40, 41, and 42 of Plaintiffs’ Response to

IBM’s Motion for Protective Order to Limit Scope of 30(b)(6) Deposition (hereinafter

“Plaintiffs’ Response”).

2.       Plaintiffs do not file this Advisory for the purpose of further supplementing their

pleadings related to Defendant’s Motion for a Protective Order to Limit Scope of 30(b)(6)

Deposition. Instead, the undersigned counsel submits this Advisory to inform this Court that the

citation in footnote 40 of Plaintiffs’ Response should state: “Hageman v. Accenture, LLP, No.

CV 10-1759 (RHK/TNL), 2011 WL 13136510 at *2 (D. Minn. June 7, 2011) (emphasis

added).” Likewise, footnotes 41 and 42 should state “Id. at *2-3” and “Id.” respectively.

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                                                      Respectfully submitted,

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                                                      ATTORNEYS FOR PLAINTIFFS

                                    CERTIFICATE OF SERVICE

         I hereby certify that on the 27th day of June, I electronically filed the foregoing with the

Clerk of the Court using the CM/ECF system, which sent notification of such filing to the Court

and Defendants’ counsel of record.




                                                        Heidi A. Coughlin

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